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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,


         v.
                                                              Criminal Action No. 21-594 (TSC)
 JOSHUA DILLON HAYNES,

                 Defendants.


                            ORDER REGARDING RESTITUTION

       On October 28, 2022, Joshua Dillon Haynes pleaded guilty to Count 1: Obstruction of an

Official Proceeding and Aiding and Abetting in violation of 18 USC §§ 1512(c)(2) and 2; and

Count 2: Destruction of Property Within Territorial Jurisdiction in violation of 18 USC § 1363.

Because Mr. Haynes pleaded guilty to the 18 U.S.C. § 1363 offense, an “offense against

property,” the court is required to impose restitution under the Mandatory Victim Witness

Restitution Act of 1996 (“MVRA”). See 18 U.S.C. § 3663A (b)(1) (the defendant shall “pay an

amount equal to the value of the property on the date of the damage, loss, or destruction, if

replacement of the property is not possible, practical, or adequate”).

       At Mr. Haynes’s sentencing on February 2, 2023, and in its sentencing memoranda, the

government submitted evidence from one victim concerning Mr. Haynes’s destruction of

property on the media staging area. See Gov’t Supp. Sent. Memo, ECF No. 43; Gov’t Second

Supp. Sent. Memo, ECF No. 48. In response, Mr. Haynes moved for, and the court granted, a




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separate hearing on restitution which the court set for April 26, 2023. Minute Entry,

04/26/2023.

       During the April 26, 2023 restitution hearing, the government submitted that the victim,

ZDF, had been reimbursed by insurance for the property losses that occurred on January 6, 2021,

in the amount of 29,989.36 Euros, and that it is due no further monetary restitution. Mr.

Haynes, represented by counsel, declared that he had no objection to the court identifying ZDF

as a victim or to the amount of restitution. His sole argument was that he should not be required

to pay further restitution because he is indigent. In consideration of Mr. Haynes’s criminal

conduct, the statutory demands of the MVRA, as well as the court’s prior decision not to impose

a fine, the court rejected Mr. Haynes’s argument.

       Accordingly, pursuant to 18 U.S.C. §§ 3663A (b)(1) and 3664(j)(1), the court hereby

ORDERS Mr. Haynes to pay restitution in the amount of 29,989.36 Euros to ZDF’s insurer: Ergo

Versicherung AG. Mr. Haynes shall make payments in the amount of $20 per month toward the

restitution balance. No payment shall be due until Mr. Haynes is released from the custody of

the Bureau of Prisons. The address of the restitution recipient is the following:

       Ergo Versicherung AG, Überseering 45, 22297 Hamburg, Germany

       Contract No: ZDF 1394001

       This restitution is in addition to the restitution ordered at sentencing in the amount of

$2,000 to the Architect of the Capitol.



                                                     IT IS SO ORDERED.


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Date: May 1, 2023

                                       Tanya S. Chutkan
                                       TANYA S. CHUTKAN
                                       United States District Judge




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